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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

GETTY IMAGES (US), INC.,              )
                                      )
                   Plaintiff,         )
                                      )
              v.                      )   C.A. No. 23-135 (GBW)
                                      )
STABILITY AI, LTD. and                )
STABILITY AI, INC.,                   )
                                      )
                   Defendants.


              DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR
                MOTION TO DISMISS OR TRANSFER THIS ACTION

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                      NATURE AND STAGE OF THE PROCEEDING

       On February 3, 2023, Plaintiff Getty Images (US), Inc. (“Getty”) filed this action for

copyright and trademark infringement, among other claims, against Defendant Stability AI, Inc.

(“Stability US”). On March 29, 2023, Getty amended its Complaint to add Stability AI Ltd.

(“Stability UK”) as a defendant. D.I. 13 (“Am. Compl.”). Stability UK and Stability US now move

this Court to dismiss the Amended Complaint for lack of personal jurisdiction, for inability to join

a necessary and indispensable party, and for failure to state a claim upon which relief can be

granted. Alternatively, Stability UK and Stability US move to transfer this case to the Northern

District of California under 28 U.S.C. § 1631 or § 1404(a).

                                 SUMMARY OF ARGUMENT

       This lawsuit does not belong in Delaware. First, there is no personal jurisdiction over

Stability UK, a necessary and indispensable party. As the Amended Complaint alleges, Stability

UK is organized under the laws of the United Kingdom, maintains its principal place of business

in London, England, and has no offices or personnel in Delaware. All of the allegations of

infringement based on the training of Stable Diffusion on Getty’s images occurred outside

Delaware. Getty fully recognizes that it cannot establish personal jurisdiction over Stability UK,

underscored by its initial decision to name only Stability US, Stability UK’s corporate parent, as a

defendant in this action. It was only after Stability US informed Getty’s counsel that it intended

to move to dismiss on the grounds that Stability UK was a necessary and indispensable party that

Getty named Stability UK as an additional defendant.

       But Getty cannot cure its failure to name a necessary and indispensable party by naming a

party over which there is no personal jurisdiction. The Amended Complaint does not allege any

facts tying Stability UK to Delaware. The mere fact that Stability US, a Delaware holding

company, is Stability UK’s corporate parent plainly does not confer personal jurisdiction over
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Stability UK—and Getty does not contend otherwise. Instead, the Amended Complaint asserts

that Stability UK and Stability US are alter egos, and therefore can be treated as a single enterprise

for jurisdictional and pleading purposes. But Getty has failed to allege any facts beyond mere

corporate ownership and overlapping senior management common to virtually every

parent-subsidiary relationship, and those facts are insufficient as a matter of law to establish that

Stability US and Stability UK are alter egos. Simply put, the claims against Stability UK should

be dismissed for lack of personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2).

       Second, Stability UK remains a necessary and indispensable party to this action, even

though this Court lacks personal jurisdiction over it. Getty’s belated decision to name Stability

UK as an additional defendant in its Amended Complaint only confirms this fact. The claims

against Stability US therefore should also be dismissed pursuant to Fed. R. Civ. P. 12(b)(7) because

Stability UK cannot be joined in this action.

        Third, the Amended Complaint suffers from another fatal defect. In its zeal to bolster its

baseless alter ego theory, Getty has lumped Stability US and Stability UK together and made

impermissible group-pleading allegations as to “Stability AI.” Under settled law, such “shotgun”

pleading does not satisfy the requirements of Fed. R. Civ. P. 8(a), and the Amended Complaint

should be dismissed under Fed. R. Civ. P. 12(b)(6).

       Finally, although dismissal is warranted and appropriate, under settled law, this Court can

transfer this case to the Northern District of California, where a previously filed class action is

pending against both Stability US and Stability UK that arises from substantially the same facts

and circumstances and presents identical issues of law—making transfer both in the interests of

judicial economy, and necessary to avoid subjecting Stability US and Stability UK to the risk of

inconsistent judgments.     As detailed below, more than 20% of Stability UK’s U.S.-based




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workforce resides in California (while none reside in Delaware), and Stability UK and Stability

US have consented to personal jurisdiction in the Northern District of California. Meanwhile, the

Northern District of California is plainly convenient for Getty because Getty maintains its

headquarters on the west coast and has a significant presence in California. Getty has no such

connections to Delaware.

                                   STATEMENT OF FACTS

Stability US and Stability UK1

       The Amended Complaint alleges that Defendant Stability US is a Delaware holding

company. Am. Compl. ¶ 14; O’Donoghue Decl. ¶ 4. Stability US owns a subsidiary, Stability UK,

which is a limited company formed under the laws of the United Kingdom. Am. Compl. ¶¶ 15, 19;

O’Donoghue Decl. ¶ 5. Neither Stability US nor Stability UK has any offices or employees located

in Delaware. O’Donoghue Decl. ¶¶ 11, 14. Stability US is the corporate vehicle through which

investors and financing sources have provided capital. Id. ¶ 13.

       Founded in 2019, Stability UK operates the DreamStudio platform and has been involved

with the ongoing development of Stable Diffusion, an open-source generative imaging artificial

intelligence (“AI”) technology. Id. ¶ 6.

       To avoid the clear absence of jurisdiction over Stability UK in Delaware, Getty baldly

alleges that Stability US and Stability UK “are alter egos of one another and operate as a single

enterprise.” Am. Compl. ¶ 15. In support of this allegation, Getty relies on facts common to parent-

subsidiary relationships, such as common ownership and control. Id. ¶¶ 18–20.




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        Accompanying this motion is the Declaration of Peter O’Donoghue, dated May 2, 2023
(“O’Donoghue Declaration”). All citations to “Ex.” herein refer to the exhibits to the O’Donoghue
Declaration. Unless otherwise noted herein, all citations and internal quotation marks are omitted,
and all alterations and emphases in quoted materials are added.


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The Prior-Filed California Class Action

       On January 13, 2023, three plaintiffs filed a lawsuit against both Stability US and Stability

UK in the Northern District of California (the “Class Action”). See O’Donoghue Decl. ¶ 17, Ex. A.

The plaintiffs in the Class Action purport to represent a nationwide putative class, including all

copyright owners of images that were used to train Stable Diffusion. The class plaintiffs allege,

among other things, that Stability UK and Stability US infringed plaintiffs’ copyrights by using

those images to train Stable Diffusion without their authorization. The Class Action seeks

monetary damages and injunctive relief and asserts claims under the Copyright Act, the DMCA,

the Lanham Act, and various California state laws.

Getty’s U.K. and Delaware Actions

       On January 16, 2023, Getty Images (UK), Ltd. commenced a pre-filing procedure against

Stability UK asserting claims for copyright infringement and related claims under the laws of the

United Kingdom, based on Stability UK’s alleged training and release of Stable Diffusion. The

following month, on February 3, 2023, Getty Images (US) Inc. filed this suit against Stability US—

but not against Stability UK. D.I. 1. After conferring with Stability US and Stability UK’s counsel,

Getty amended its complaint to add Stability UK as a defendant. Like the Class Action, Getty

alleges that “Stability AI” infringed Getty’s copyrighted images by using photographs from

Getty’s online image database while training Stable Diffusion. Getty similarly seeks damages and

injunctive relief under the Copyright Act, the DMCA, and the Lanham Act.

                                          ARGUMENT

I.     This Court Lacks Personal Jurisdiction Over Stability UK.

       Personal jurisdiction is an “essential element” of a court’s ability to hear a case, “without

which the court is powerless to proceed to an adjudication.” Ruhrgas AG v. Marathon Oil Co.,

526 U.S. 574, 584 (1999). Getty bears the burden of establishing, with particularity, that sufficient


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minimum contacts exist between Stability UK and Delaware to support personal jurisdiction here.

Registered Agents, Ltd. v. Registered Agent, Inc., 880 F. Supp. 2d 541, 544 (D. Del. 2012); see

O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 316 (3d Cir. 2007). To do so, Getty cannot rely

on the bare pleadings alone, but “must sustain its burden of proof in establishing jurisdictional

facts through sworn affidavits or other competent evidence.” Time Share Vacation Club v. Atl.

Resorts, Ltd., 735 F.2d 61, 66 n.9 (3d Cir. 1984); Registered Agents, Ltd., 880 F. Supp. 2d at 544.

       To establish personal jurisdiction, Getty must establish facts sufficient to satisfy both

statutory and constitutional requirements. See, e.g., inno360, Inc. v. Zakta, LLC, 50 F. Supp. 3d

587, 592 (D. Del. 2014). First, Getty must establish a statutory basis for jurisdiction under

Delaware’s long-arm statute. Id. Second, Getty must establish that the exercise of jurisdiction

comports with constitutional due process. Id.; see International Shoe Co. v. Washington, 326 U.S.

310, 316 (1945). Getty has failed to do either.

       A.      Delaware’s Long-Arm Statute Does Not Provide a Basis for
               Personal Jurisdiction Over Stability UK.
       Delaware’s long-arm statute “has been broadly construed to confer jurisdiction to the

maximum extent possible under the Due Process Clause,” but Delaware Courts have made clear

that “the personal jurisdictional analysis must not be collapsed into a single constitutional inquiry.”

Funai Elec. Co. v. Personalized Media Commc’ns, LLC, No. 15-558-RGA, 2016 WL 370708, at

*2 (D. Del. Jan. 29, 2016). Therefore, if Getty “cannot satisfy the statutory basis for personal

jurisdiction, the court need not reach the constitutional due process prong of the personal

jurisdiction analysis.” Registered Agents, Ltd., 880 F. Supp. 2d at 547.

       Delaware’s long-arm statute provides for the exercise of personal jurisdiction over any

nonresident who in person or through an agent: (1) “Transacts any business or performs any

character of work or service in the State”; (2) “Contracts to supply services or things in this State”;



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(3) “Causes tortious injury in the State by an act or omission in this State”; or (4) “Causes tortious

injury in the State or outside of the State by an act or omission outside the State if the person

regularly does or solicits business, engages in any other persistent course of conduct in the State

or derives substantial revenue from services, or things used or consumed in the State.” 10 Del. C.

§ 3104 (c)(1)–(4). Courts in this District have held that the long-arm statute requires a showing of

specific jurisdiction (other than with respect to (c)(4), which relates to general jurisdiction). See

Shoemaker v. McConnell, 556 F. Supp. 2d 351, 354–55 (D. Del. 2008).

       Here, Getty has not even attempted to plead a statutory basis for jurisdiction under

Delaware’s long-arm statute. Getty does not allege that any of the purportedly infringing acts

regarding training Stable Diffusion occurred within Delaware. Reach & Assocs., P.C. v. Dencer,

269 F. Supp. 2d 497, 503 (D. Del. 2003) (“In order for a court to exercise jurisdiction under

Subsections (c)(1) and (c)(3), some act must actually occur in Delaware.”). Rather, although the

Amended Complaint is vague in this regard, Getty appears to allege that the training took place in

England and Germany. See, e.g., Am. Compl. ¶¶ 48 (“Stable Diffusion was trained . . . from

Datasets prepared by non-party LAION, a German entity . . .”); 18 (“Stability [US] and Stability

[UK] . . . are located at the same physical London address . . .”). Getty also does not allege that

Stability UK contracted to supply services or things in Delaware. See Eurofins Pharma U.S.

Holdings v. BioAlliance Pharma SA, 623 F.3d 147, 157 (3d Cir. 2010) (holding that subsection

(c)(2) of the Delaware long-arm statute requires that service contracts must be for services

performed in Delaware). Section 3104(c)(4) likewise is not a basis for exercising jurisdiction

because Stability UK is not subject to general jurisdiction in Delaware, as discussed further below.2



2
        To the extent that Section 3104(c)(4) purports to grant general jurisdiction based solely on
a company’s continuous and regular business contacts with Delaware, this Section would clearly
violate the constitutional limitations identified by the Supreme Court. See Daimler AG v. Bauman,


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          Because Getty has failed to plead any facts supporting personal jurisdiction over Stability

UK under Delaware’s long-arm statute, this Court should dismiss the claims against Stability UK

for lack of personal jurisdiction. See Registered Agents, Ltd., 880 F. Supp. 2d at 547.

          B.       Stability UK is Not Subject to General Jurisdiction in Delaware.
          In addition to lacking any statutory basis for exercising personal jurisdiction over Stability

UK, Getty also cannot establish that exercising jurisdiction comports with the U.S. Constitution.

The two routes to establishing personal jurisdiction under the U.S. Constitution are general and

specific jurisdiction. Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024

(2021).        General jurisdiction exists where a defendant’s “affiliations with the State are so

‘continuous and systematic’ as to render them essentially at home in the forum State.” Daimler

AG, 571 U.S. at 127 (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915,

919 (2011)). Specific jurisdiction, on the other hand, “‘focuses on the relationship among the

defendant, the forum, and the litigation’” rather than “the defendant’s contacts with persons who

reside there.” Walden v. Fiore, 571 U.S. 277, 284–85 (2014) (quoting Keeton v. Hustler Magazine,

Inc., 465 U.S. 770, 775 (1984)).

          Getty concedes, as it must, that Stability UK is not “at home” in Delaware. Daimler AG,

571 U.S. at 127. “Stability AI, Ltd. is a UK corporation with headquarters in London, UK.” Am.

Compl. ¶ 15. And Getty does not allege that this is an “exceptional case” where Stability UK’s

operations in Delaware are “so substantial and of such a nature as to render” it subject to general

personal jurisdiction in the State. Daimler AG, 571 U.S. at 139 n.19.

          Moreover, the fact that Stability UK’s parent company, Stability US, is incorporated in

Delaware does not change the analysis. It is settled that a parent company’s forum contacts are



571 U.S. 117, 127 (2014) (holding that even “a substantial, continuous, and systematic course of
business” cannot support the exercise of general personal jurisdiction).


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not imputed to its subsidiary. See Goodyear Dunlop Tires, 564 U.S. at 921 (holding that there was

no personal jurisdiction over three foreign subsidiaries of a US-based parent company); IM2

Merch. & Mfg., Inc. v. Tirex Corp., No. 18077, 2000 WL 1664168, at *4 n.15 (Del. Ch. Nov. 2,

2000) (holding that the mere fact that a parent is incorporated in Delaware is insufficient to confer

jurisdiction over a non-Delaware subsidiary). Indeed, that theory of personal jurisdiction has been

squarely rejected in this Court. See Tractenberg v. Marriott Int’l, Inc., No. 21-1002-SB, 2021 WL

5299823, at *1 (D. Del. Nov. 15, 2021) (“We cannot travel from a Delaware parent to a foreign

subsidiary”) (emphasis in original).

       Finally, Getty’s attempt to overcome its jurisdictional shortcomings by relying on an alter

ego theory fails. For one, Getty has not attempted to allege that Stability US and Stability UK

have structured their corporate affairs in order to perpetrate a fraud on Getty or anyone else, much

less demonstrate this alter ego relationship by clear and convincing evidence. See Blair v. Infineon

Techs. AG, 720 F. Supp. 2d 462, 470 (D. Del. 2010) (“This court has required an element of

fraudulent intent in its alter ego test”); Trustees of Nat. Elevator Indus. Pension, Health Benefit &

Educ. Funds v. Lutyk, 332 F.3d 188, 194 (3d Cir. 2003) (“Alter ego . . . must be shown by clear

and convincing evidence”). For another, Getty does not allege any facts to satisfy the high

standards required to establish that separate companies are alter egos. See Pearson v. Component

Tech. Corp., 247 F.3d 471, 484–85 (3d Cir. 2001) (noting that courts consider whether there is

“gross undercapitalization, [a] failure to observe corporate formalities, nonpayment of dividends,

insolvency of debtor corporation, siphoning of funds from the debtor corporation by the dominant

stockholder, nonfunctioning of officers and directors, [an] absence of corporate records, and

whether the corporation is merely a facade for the operations of the dominant stockholder”).

Indeed, none of Getty’s allegations go beyond the typical powers of stock ownership inherent in




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any parent-subsidiary relationship. See United States v. Bestfoods, 524 U.S. 51, 61–62 (1998) (“[I]t

is hornbook law that the exercise of the ‘control’ which stock ownership gives to the

stockholders . . . will not create liability beyond the assets of the subsidiary” and “[t]hat ‘control’

includes the election of directors, the making of by-laws . . . and the doing of all other acts incident

to the legal status of stockholders.”).

       Thus, Getty’s allegations that Stability US has the power to appoint or remove members of

Stability UK’s board of directors and that the two corporations share the same CEO and founder

cannot alone establish its alter ego theory. See id. (noting that “a duplication of some or all of the

directors or executive officers” will not create liability); Pearson, 247 F.3d at 471 (holding that

liability will not be imposed on the parent corporation merely because directors of the parent

corporation also serve as directors of the subsidiary). Likewise, the allegation that Stability US

and Stability UK share the same principal places of business (in London) and website are

insufficient to establish that the parent and subsidiary are alter egos. See T-Jat Sys. 2006 Ltd. v.

Expedia, Inc. (DE), No. 16-581-RGA-MPT, 2017 WL 896988, at *2, *5 (D. Del. Mar. 7, 2017)

(holding that parent and subsidiary were not alter egos of each other despite the fact that the

companies had “a shared corporate headquarters, a shared principal executive office address, and

shared directors and executive officers.”). And Getty’s allegations that Stability US raised over

$75 million actually confirms that outside investors treat Stability US as a separate legal entity

from Stability UK. Indeed, as holding companies often do, Stability US has recently acquired a

new company, Init ML Inc. and its subsidiary Init ML SAS, which will operate independent of its

sibling Stability UK as a subsidiary of Stability US. See O’Donoghue Decl. ¶ 13. Thus, Getty

failed to establish that Stability UK and Stability US are alter egos.




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       C.      Stability UK is Not Subject to Specific Jurisdiction in Delaware.
       Stability UK is also not subject to specific jurisdiction in Delaware. Specific jurisdiction

arises when a defendant has both purposefully directed its activities at residents of the forum state

and the action arises from, or is directly related to, the defendant’s actions within the forum

state. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985). The Third Circuit uses a

“purposeful availment” test for deciding whether a defendant’s internet website meets the test for

specific jurisdiction. See Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 451–52 (3d Cir. 2003).

The Amended Complaint makes no allegation that Stability UK made any copies of Getty’s

copyrighted works in Delaware in connection with training Stable Diffusion. In fact, there is no

allegation that Stability UK did anything with respect to training Stable Diffusion here.

       It is also beyond dispute that “[t]he mere operation of a commercially interactive web site

should not subject the operator to jurisdiction anywhere in the world.” Id. at 454. And just because

the defendant was aware that its website could be accessed in Delaware and could have foreseen

Delaware residents using its services, “does not mean that defendant purposefully directed its

activities at residents of Delaware or ‘purposefully availed’ itself of the privilege of doing business

in Delaware.” inno360, Inc., 50 F. Supp. 3d at 594. Indeed, “[c]ourts have repeatedly recognized

that there must be ‘something more’ . . . to demonstrate that the defendant directed its activity

towards the forum state.” Toys “R” Us, Inc., 318 F.3d at 452 (emphasis in original). To the extent

that a Delaware resident accesses the DreamStudio platform, this “random, fortuitous, [and]

attenuated” contact is insufficient to confer personal jurisdiction over Stability UK. Burger King

Corp., 471 U.S. at 475; see Hanson v. Denckla, 357 U.S. 235, 253 (1958) (“The unilateral activity

of those who claim some relationship with a nonresident defendant cannot satisfy the requirement

of contact with the forum State”). Stability UK is not subject to the jurisdiction of Delaware courts

merely because it “has not excluded Delaware from accessing its website.” inno360, Inc., 50 F.


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Supp. 3d at 595.3 Thus, “[t]here is no persuasive evidence that defendants have targeted Delaware

residents, or that any Delaware resident has created an account on [DreamStudio] to enable further,

continuous interaction with defendants.” Sebastian Brown Prods., LLC v. Muzooka Inc., No. 14-

009-SLR, 2015 WL 1467255, at *3 n.4 (D. Del. Mar. 30, 2015).

        Simply put, the Amended Complaint fails to allege any connection between Delaware and

Stability UK’s alleged infringing acts. For these reasons, this Court lacks specific personal

jurisdiction over Stability UK.

        D.      The Federal Long-Arm Statute Does Not Provide a Basis for
                Personal Jurisdiction Over Stability UK.
        Finally, Getty cannot rely on the federal long-arm statute as a basis for personal jurisdiction

over Stability UK. Under Fed. R. Civ. P. 4(k)(2), personal jurisdiction over a foreign defendant

exists when: (1) the case arises under federal law; (2) the foreign defendant lacks sufficient

contacts with any single state to subject it to personal jurisdiction in any state; and (3) the foreign

defendant has sufficient contacts with the United States as a whole to comport with constitutional

notions of due process. See Monsanto Co. v. Syngenta Seeds, Inc., 443 F. Supp. 2d 636, 647 (D.

Del. 2006). While most of Getty’s claims arise under federal law, to satisfy the second prong,

known as the negation requirement, “plaintiffs are required to make an affirmative representation

that the defendant is not subject to the general jurisdiction of any state court.” Id.; see, e.g., Adtile

Techs. Inc. v. Perion Network Ltd., 192 F. Supp. 3d 515, 524 (D. Del. 2016). This is because

“plaintiff bears the burden of demonstrating that the defendant is not subject to jurisdiction in any


3
        Getty has not identified a single instance in which a Delaware resident purchased
DreamStudio images or downloaded Stable Diffusion and infringed any of Getty’s copyrighted
images in Delaware. Underscoring this, Getty does not even assert contributory or vicarious
copyright infringement claims against Stability US or Stability UK and therefore could not rely on
such allegations to establish jurisdiction. See Metro-Goldwyn-Mayer Studious, Inc. v. Grokster,
Ltd., 545 U.S. 913, 929–30 (2005) (setting forth elements of vicarious and contributory
infringement claims).


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state” (Telcordia Techs., Inc. v. Alcatel S.A., No. 04-874 GMS, 2005 WL 1268061, at *5 (D. Del.

May 27, 2005)), and plaintiff’s failure to do so precludes the federal long-arm statute’s application.

See, e.g., Monsanto Co., 443 F. Supp. 2d at 647; Adtile Techs. Inc., 192 F. Supp. 3d at 524.

       Here, Getty again has not attempted to satisfy its burden. Nowhere in the Amended

Complaint does Getty allege that Stability UK is not subject to U.S. jurisdiction in any state.4

Because Getty has failed to satisfy its burden under the negation requirement, “Rule 4(k)(2) is

inapplicable to establish personal jurisdiction.” CFMT Inc. v. Steag Microtech, Inc., No. 95-442-

LON, 1997 WL 313161, at *8 (D. Del. Jan. 9, 1997), adopted, 965 F. Supp. 561 (D. Del. 1997);

see also Commisseriat A L’Energie Atomique v. Chi Mei Optoelectronics Corp., 293 F. Supp. 2d

423, 430 (D. Del. 2003) (holding that simply establishing United States contacts was not enough

to prove defendant could not be subject to suit in any state), vacated on other grounds by 395 F.3d

1315 (Fed. Cir. 2005) (issue abandoned on appeal).

       Getty has not done so because it knows that Stability UK is subject to personal jurisdiction

in the Northern District of California for purposes of this action. See Sony Corp. v. Pace PLC, No.

15-288-SLR, 2016 WL 593455, at *5 (D. Del. Feb. 12, 2016) (“[A] defendant who wants to

preclude the use of Rule 4(k)(2) has only to name some other state in which the suit could

proceed”), report and recommendation adopted, 2016 WL 1258721 (D. Del. Mar. 28, 2016).

Unlike Delaware, Stability UK does have connections to the California forum that allow the

exercise of personal jurisdiction over it. First, some of Stability UK’s employees on the west coast

were involved in the development of Stable Diffusion and DreamStudio, including one employee

that worked on DreamStudio while residing in the Northern District of California. See



4
        Indeed, Getty affirmatively—albeit wrongly—represents that Stability UK is subject to
jurisdiction in the United States, because this Court “has personal jurisdiction over [Stability UK]
based on Stability [UK]’s contacts with Delaware . . .” Am. Compl. ¶ 21.


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O’Donoghue Decl. ¶ 16. In fact, more than 20% of Stability UK’s US-based workforce resides in

California, including two senior executives that report directly to the CEO. See id. ¶ 15. Second,

Stability UK has already consented to the jurisdiction of the Northern District of California in the

prior class action, which concerns substantially the same allegations, conduct, and legal issues. See

Avocent Huntsville Corp. v. Aten Int’l Co., 552 F.3d 1324, 1334 (Fed. Cir. 2008) (noting that “the

enforcement or the defense of the validity of the relevant patents” in a certain forum can establish

personal jurisdiction in that forum) (emphasis in original). Third, Stability UK has spent more

than $500,000 with California suppliers, a considerable amount for a start-up. See O’Donoghue

Decl. ¶ 15. These California contacts, even if not adequate by themselves, when taken together,

are sufficient to justify the exercise of personal jurisdiction by the Northern District of California

over Stability UK for purposes of this action. See Baker v. Wehinger, No. 18-5800-DMG, 2021

WL 1573820, at *4 (C.D. Cal. Mar. 5, 2021) (“[E]ven if any individual contact with California

would be too attenuated, the contacts, taken together, constitute purposeful availment”).5

       Accordingly, the Amended Complaint should be dismissed as to Stability UK for lack of

personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2).

II.    Stability UK is a Necessary and Indispensable Party.

       Stability UK is a necessary and indispensable party under Rule 19, and because it cannot

be joined in this case due to lack of personal jurisdiction, the Amended Complaint should be

dismissed as to Stability US as well. See Wilson v. The Canada Life Assur. Co., No. 08-1258, 2009

WL 532830, at *12 (M.D. Pa. Mar. 3, 2009) (dismissing entire action under Rule 19 where there

was no personal jurisdiction over an indispensable party, despite the plaintiff naming and




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        And even if Rule 4(k)(2) did apply, it would create personal jurisdiction in the Northern
District of California as well as in Delaware, providing another basis for transfer to California.


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technically joining that defendant); Hall v. Nat’l Serv. Indus., Inc., 172 F.R.D. 157, 158–59 (E.D.

Pa. 1997) (“Preliminarily, I must address the fact that plaintiffs did name, and hence technically

joined, [defendant] Chapmon in their complaint. However, this technical joinder does not

necessarily circumvent the analysis required under Rule 19.”). A party is a necessary party if, in

its absence: (1) complete relief cannot be accorded to the present parties, (2) the disposition of the

action would impair the party’s ability to protect its own interest, or (3) any of the present parties

would be subject to a substantial risk of multiple or inconsistent obligations. See Fed. R. Civ. P.

19(a). If the absent party is necessary and cannot be joined, the court must next determine whether

the party is considered “indispensable” under Rule 19(b). Arcelik, A.S. v. E.I. Du Pont de Nemours

& Co., No. 15-961-LPS, 2016 WL 5719681, at *2 (D. Del. Sept. 29, 2016). This inquiry requires

a balancing of the interests of the plaintiff, the defendant, the absent party, the courts, and the

public. Id.; see Provident Tradesmens Bank & Tr. Co. v. Patterson, 390 U.S. 102, 109–11 (1968).

       There can be no dispute that “when a plaintiff seeks to hold a parent company liable for

the conduct of the parent’s subsidiary, the subsidiary is a necessary and indispensable party under

Rule 19.” Jurimex Kommerz Transit G.m.b.H. v. Case Corp., 201 F.R.D. 337, 340 (D. Del. 2001),

aff’d, 65 F. App’x 803 (3d Cir. 2003); see, e.g., Martinez v. E.I. DuPont de Nemours & Co.,

82 A.3d 1, 21 (Del. Super. Ct. 2012) (“[F]ederal courts in cases such as this have consistently held

that a subsidiary is a necessary party in a suit against the subsidiary’s parent corporation where the

subsidiary is an active participant in the activity that is alleged as the basis for recovery”), aff’d,

86 A.3d 1102 (Del. 2014). This is because the subsidiary’s “presence is critical to the disposition

of the important issues in the litigation. Its evidence will either support the complaint or bolster

the defense.” Freeman v. Nw. Acceptance Corp., 754 F.2d 553, 559 (5th Cir. 1985).

       Here, notwithstanding its vague collective term “Stability AI,” Getty’s allegations relate to




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Stability UK’s purported role in creating, training, and distributing Stable Diffusion. As Getty

correctly alleges, the other named defendant, Stability US, is merely a holding company with “no

employees or day-to-day operations.” Am. Compl. ¶ 20. And it is well established that a parent

company is not liable for the alleged conduct of its subsidiary. See Bestfoods, 524 U.S. at 61 (“It

is a general principle of corporate law deeply ingrained in our economic and legal systems that a

parent corporation . . . is not liable for the acts of its subsidiaries”); Brit. Telecomms, PLC v.

IAC/InteractiveCorp, 356 F. Supp. 3d 405, 409 (D. Del. 2019) (“A parent company is not liable

for the actions of its subsidiary solely because of the parent-subsidiary relationship”). A judgment

rendered in the absence of Stability UK would not be adequate because Stability US is not an

operating company and has not engaged in any of the alleged conduct at issue here. See Japan

Petroleum Co. (Nigeria) v. Ashland Oil, Inc., 456 F. Supp. 831, 847 (D. Del. 1978) (finding this

factor “controlling”). Stability UK’s presence is therefore necessary and indispensable to the

disposition of this litigation, and this Court should dismiss the Amended Complaint as to Stability

US pursuant to Fed. R. Civ. P. 12(b)(7).

III.   This Court Should Dismiss this Case for Failure to State a Claim.

       Getty’s Amended Complaint also fails for another, and entirely different, reason. Having

sought to lump Stability US and Stability UK together to circumvent the Amended Complaint’s

jurisdictional infirmities, Getty fails to identify which defendant is responsible for the alleged

infringing acts. Instead, Getty improperly groups Stability US and Stability UK under the

collective designation “Stability AI” and refers generically to Stability AI’s alleged infringement.

       It is well established that lumping allegations against a group of defendants is insufficient

to state a claim—even when against a parent company and its subsidiary. See, e.g., T-Jat Sys. 2006

Ltd., No. 16-581-RGA-MPT, 2017 WL 896988, at *7 (dismissing complaint for making

allegations against a Delaware parent company and its wholly-owned Washington subsidiary


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under the umbrella term “Expedia”); M2M Sols. LLC v. Telit Commc’ns PLC, No. 14-1103-RGA,

2015 WL 4640400 (D. Del. Aug. 5, 2015) (dismissing complaint for making allegations against a

UK parent company and its U.S. subsidiary under the umbrella term “Telit”). Getty thus fails to

satisfy the pleading standards of Rule 8(a), and this Court should dismiss this case under Fed. R.

Civ. P. 12(b)(6). See Adverio Pharma GmbH v. Alembic Pharms. Ltd., No. 18-73-LPS, 2019 WL

581618, at *6 (D. Del. Feb. 13, 2019) (“[A]llegations lumping multiple defendants together

without providing allegations of individual conduct are frequently (as here) insufficient to satisfy

the notice pleading standard”).

IV.     This Court Should Transfer this Case to the Northern District of California
        Pursuant to 28 U.S.C. § 1631.

        Unable to establish personal jurisdiction over Stability UK, Getty leaves this Court with

two options: dismissal or transfer. See Christianson v. Colt Indus. Operating Corp., 486 U.S. 800,

818 (1988).     Dismissal is warranted here because Stability UK is not subject to personal

jurisdiction and Stability UK is a necessary party that cannot be joined in this action. In the

alternative, because this case could have been brought in the Northern District of California, this

Court may transfer this case to that District. Under 28 U.S.C. § 1631, “[w]henever a civil action

is filed in a court . . . and that court finds that there is a want of jurisdiction, the court shall, if it is

in the interest of justice, transfer such action or appeal to any other such court in which the action

or appeal could have been brought at the time it was filed.” Section 1631 permits transfer in lieu

of dismissal for lack of personal jurisdiction. D’Jamoos ex rel. Est. of Weingeroff v. Pilatus

Aircraft Ltd., 566 F.3d 94, 107 (3d Cir. 2009); Island Insteel Sys., Inc. v. Waters, 296 F.3d 200,

218 n.9 (3d Cir. 2002). Indeed, “[s]ection 1631 creates a presumption in favor of transfer.”

Henderson v. United States Off. of Pers. Mgmt., 844 F. App’x 551, 553 (3d Cir. 2021) (citing

Jonson v. Fed. Deposit Ins. Corp., 877 F.3d 52, 58 (1st Cir. 2017)). Transfer is in the interest of



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justice because California is overwhelmingly more convenient for all parties; Getty is based in the

Ninth Circuit with its headquarters in the State of Washington. Accordingly, this Court should

transfer this action to the Northern District of California.

V.     This Court Should Alternatively Transfer This Case to the Northern District
       of California Pursuant to 28 U.S.C. § 1404(a).

       Even if Getty could establish personal jurisdiction over Stability UK (and it cannot), the

case should still be transferred to the Northern District of California under 28 U.S.C. § 1404(a):

“For the convenience of parties and witnesses, in the interest of justice, a district court may transfer

any civil action to any other district or division where it might have been brought.”

       A.      The § 1404(a) Factors Overwhelmingly Favor Transfer.
       To guide a district court’s exercise of discretion under § 1404(a), the Third Circuit has set

forth various private and public interests to be balanced. Jumara v. State Farm Ins. Co., 55 F.3d

873, 879–80 (3d Cir. 1995). The private interests relate to the convenience of the parties and

witnesses, and include (1) “plaintiff’s forum preference as manifested in the original choice”;

(2) “the defendant’s preference”; (3) “whether the claim arose elsewhere”; (4) “the convenience

of the parties as indicated by their relative physical and financial condition”; (5) “the convenience

of the witnesses”; (6) “the location of books and records”; and (7) “all other practical problems

that make trial of a case easy, expeditious and inexpensive.” In re: Howmedica Osteonics Corp,

867 F.3d 390, 402 (3d Cir. 2017). The public interests derive from “the interest of justice,” and

include (1) “the enforceability of the judgment”; (2) “the relative administrative difficulty in the

two fora resulting from court congestion”; (3) “the local interest in deciding local controversies at

home”; (4) “the public policies of the fora”; (5) “the familiarity of the trial judge with the

applicable state law in diversity cases”; and (6) “judicial economy considerations.” Id.

               i)      The Balance of Private Interests Strongly Favors Transfer.
       The convenience of the parties and witnesses will be served by transferring this case to the


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Northern District of California. Almost all of the enumerated factors point to transfer.

       Plaintiff’s Choice of Forum. Getty’s choice of forum should be given minimal weight.

Getty is not incorporated in Delaware and it does not have its principal place of business here. See,

e.g., Memory Integrity, LLC v. Intel Corp., No. 13-1804-GMS, 2015 WL 632026, at *3 (D. Del.

Feb. 13, 2015) (holding that a plaintiff’s choice of forum “weighs minimally against transfer”

when the plaintiff has a “minimal connection to [the forum]”). Getty is a New York corporation

based in the State of Washington and has substantial operations in California. Am. Compl. ¶ 13.

       The Defendants’ Preference. Stability UK has legitimate and rational reasons for its

alternative forum preference—namely, to better coordinate this case with the Class Action, which

presents substantially overlapping allegations and legal issues, to preserve company resources, and

to avoid inconsistent judgments. This factor strongly favors transfer.

       Where the Claims Arose. The claims in the Amended Complaint relate to the alleged

training and development of Stable Diffusion in the United Kingdom and Germany, all of which

occurred outside Delaware. This factor is neutral.

       Convenience of the Parties. It is far more convenient for Stability UK to produce

documents and make party witnesses available in the same forum as the prior pending Class

Action, rather than being forced to do so on both sides of the country. See Teleconference Sys. v.

Proctor & Gamble Pharms., Inc., 676 F. Supp. 2d 321, 334 (D. Del. 2009) (recognizing that the

moving party is not required to show that “relevant documents and evidence cannot be made

available in Delaware,” only that “it is substantially more convenient for the documents and

evidence to be produced in the Northern District of California rather than the District of

Delaware”). Similarly, Getty’s principal place of business is in the State of Washington. Getty

cannot argue that its choice to litigate this case over 2,000 miles from its headquarters is more




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convenient than litigating on the west coast where it maintains a significant presence. This factor

greatly favors transfer.

       Convenience of the Witnesses. California is more convenient for the witnesses as they

will have to be produced for deposition only once, in coordination with the Class Action, rather

than multiple times relating to substantially the same facts and circumstances. Several individuals

who participated in the development of Stable Diffusion and DreamStudio reside on the West

Coast, including in California, Oregon, and Washington. See O’Donoghue Decl. ¶ 16.

       Location of Books and Records. Both Stability UK’s and Getty’s books and records can

be made available in either forum. This factor is neutral.

       Other Practical Issues. The prior pending Class Action in California supports transfer.

See Smart Audio Techs., LLC v. Apple, Inc., 910 F. Supp. 2d 718, 732 (D. Del. 2012); Cont’l Grain

Co. v. The FBL-585, 364 U.S. 19, 26 (1960) (“To permit a situation in which two cases involving

precisely the same issues are simultaneously pending in different District Courts leads to the

wastefulness of time, energy and money that § 1404(a) was designed to prevent”). Indeed, the

commonalities between the two lawsuits “may allow the court to develop some familiarity with

the [copyrights] and technology involved, thereby conserving judicial time and resources.” Smart

Audio Techs., LLC, 910 F. Supp. 2d at 733. Additionally, transfer avoids subjecting defendants to

the risk of inconsistent judgments, which is particularly present here because the cases will involve

non-expert determinations about highly complex technology. This factor greatly favors transfer.

               ii)     The Balance of Public Interests Strongly Favors Transfer.
       Although some of the public interest factors are not applicable here, the three factors that

are relevant greatly favor transfer. The enforceability of a judgment favors California because this

Court cannot exercise jurisdiction over Stability UK, the operating company. And because this

case does not involve a local controversy or sound in diversity, those two factors are neutral.


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Moreover, there also is no public policy of Delaware or California that would be applicable here.

       With regard to court congestion, this Court has only four judges, while the Northern

District of California has twenty-two—only eight of whom have taken senior status. See

https://www.cand.uscourts.gov/judges/. This Court also faces a heavier caseload than the Northern

District of California. According to the most recent data provided by the Administrative Office of

the United States Courts, between October 1, 2021, and September 30, 2022, there were 834

weighted filings per judge in this Court, as compared to 606 weighted filings per judge in the

Northern District of California. See https://www.uscourts.gov/statistics/table/na/federal-court-

management-statistics/2022/09/30-1; Gen. Sci. Corp. v. Den-Mat Holdings, LLC, No. 21-882-

CFC, 2021 WL 4622548, at *3 (D. Del. Oct. 7, 2021) (recognizing that weighted filings per Judge

is a good measure of court congestion). This factor strongly favors transfer.

       Judicial economy also clearly favors transfer. It is well established that judicial economy

is served by “having the two actions in the same district (through transfer) when the two cases are

in different courts but involve the same or similar issues and parties.” In re: Howmedica Osteonics

Corp, 867 F.3d at 402. Because the Class Action involves the same issues and the same defendants

as the present case, transfer is more efficient.

       In sum, the relevant private and public interests weigh decisively in favor of transfer.

Accordingly, this Court should transfer this case under § 1404(a).

                                          CONCLUSION

       This Court lacks personal jurisdiction over Stability UK, the main defendant, and this entire

case therefore should be dismissed because Getty cannot join a necessary and indispensable party.

Alternatively, this Court should dismiss this case because the Amended Complaint relies on

impermissible group pleading. Finally, if the Court does not dismiss this case, the Court should

transfer this case to the Northern District of California.


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May 2, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2023, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on May 2,

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